            Case 5:13-cv-01141-D Document 1 Filed 10/25/13 Page 1 of 5




                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF OKLAHOMA
Ryan Mitchell,                       :
                                     :
                    Plaintiff,       :                   CIV-13-1141-D
                                       Civil Action No.: ______
                                     :
       v.                            :
                                     :
GC Services, L.P.; and DOES 1-10,    :
                                       COMPLAINT AND
inclusive,                           :
                                       DEMAND FOR JURY TRIAL
                                     :
                    Defendants.      :
                                     :

       For this Complaint, Plaintiff, Ryan Mitchell, by undersigned counsel, states as

follows:

                                        JURISDICTION

       1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”), in their illegal efforts

to collect a consumer debt.

       2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that

Defendants transact business in this District and a substantial portion of the acts giving

rise to this action occurred in this District.

                                           PARTIES

       3.      Plaintiff, Ryan Mitchell (“Plaintiff”), is an adult individual residing in

Norman, Oklahoma, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
             Case 5:13-cv-01141-D Document 1 Filed 10/25/13 Page 2 of 5




       4.      Defendant GC Services, L.P. (“GC”), is a Texas business entity with an

address of 6330 Gulfton Street, Houston, Texas 77081, operating as a collection agency,

and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

       5.      Does 1-10 (the “Collectors”) are individual collectors employed by GC and

whose identities are currently unknown to Plaintiff. One or more of the Collectors may

be joined as parties once their identities are disclosed through discovery.

       6.      GC at all times acted by and through one or more of the Collectors.

                    ALLEGATIONS APPLICABLE TO ALL COUNTS
    A. The Debt

       7.      Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”) for a federal student loan.

       8.      The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes, which meets the definition of a

“debt” under 15 U.S.C. § 1692a(5).

       9.      The Debt was purchased, assigned or transferred to GC for collection, or

GC was employed by the Creditor to collect the Debt.

       10.     Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

    B. GC Engages in Harassment and Abusive Tactics

       11.     Within the last year, GC called Plaintiff at his place of employment in an

attempt to collect the Debt.



                                              2

               Case 5:13-cv-01141-D Document 1 Filed 10/25/13 Page 3 of 5




         12.     Plaintiff advised GC that the calls to his workplace were inconvenient and

prohibited by his employer and therefore requested that GC cease calling his work

number.

         13.     Nonetheless, GC continued calling Plaintiff at his place of employment in

an attempt to collect the Debt.

         14.     In addition, Plaintiff entered into a rehabilitation program with GC and was

making timely payments as agreed. GC assured Plaintiff that no further action would be

taken as long as timely payments were received.

         15.     However, on or about August 13, 2013, GC began garnishing Plaintiff’s

wages.

    C. Plaintiff Suffered Actual Damages

         16.     Plaintiff has suffered and continues to suffer actual damages as a result of

Defendants’ unlawful conduct.

         17.     As a direct consequence of Defendants’ acts, practices and conduct,

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional

distress, fear, frustration and embarrassment.

                                  COUNT I
          VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                            15 U.S.C. § 1692, et seq.

         18.     Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.




                                                3

             Case 5:13-cv-01141-D Document 1 Filed 10/25/13 Page 4 of 5




       19.     Defendants’ conduct violated 15 U.S.C. § 1692c(a)(3) in that Defendants

contacted Plaintiff at his place of employment, despite knowing that Plaintiff’s employer

prohibited such communications.

       20.     Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants

engaged in behavior the natural consequence of which was to harass, oppress, or abuse

Plaintiff in connection with collection of the Debt.

       21.     Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants used

false, deceptive and/or misleading representations or means in connection with the

collection of a debt.

       22.     Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

       23.     Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

       24.     The foregoing acts and omissions of Defendants constitute numerous and

multiple violations of the FDCPA.

       25.     Plaintiff is entitled to damages as a result of Defendants’ violations.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendants:

                  1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

                  2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

                        §1692k(a)(2)(A);

                  3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.
                                               4

          Case 5:13-cv-01141-D Document 1 Filed 10/25/13 Page 5 of 5




                   § 1692k(a)(3);

                4. Punitive damages; and

                5. Such other and further relief as may be just and proper.

Dated: October 25, 2013

                                         Respectfully submitted,

                                         By /s/ Sergei Lemberg

                                         Sergei Lemberg, Esq.
                                         LEMBERG & ASSOCIATES L.L.C.
                                         1100 Summer Street, 3rd Floor
                                         Stamford, CT 06905
                                         Telephone: (203) 653-2250
                                         Facsimile: (203) 653-3424
                                         E-Mail: slemberg@lemberglaw.com
                                         Attorneys for Plaintiff




                                           5

